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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION


DAVITA M. KEY,              )
                            )
    Plaintiff,              )
                            )                       CIVIL ACTION NO.:
v.                          )
                            )                       2:19-cv-767-ECM-SMD
HYUNDAI MOTOR MANUFACTURING )
ALABAMA, LLC, HYUNDAI       )
ENGINEERING AMERICA, INC.,  )                       CONDITIONALLY
AND DYNAMIC SECURITY, INC., )                       UNOPPOSED
                            )
    Defendant.              )


     PLAINTIFF’S MOTION TO TAKE DEPOSITIONS OF CASSANDRA
     WILLIAMS/HYUNDAI ENGINEERING AMERICA, INC.’S 30(B)(6)
         DEPONENT OUTSIDE OF THE DISCOVERY DEADLINE


       COMES NOW the Plaintiff and seeks leave of this Court to take the

depositions Cassandra Williams as Defendant Hyundai Engineering America,

Inc.’s (“HEA”) 30(b)(6) deponent as well as in her individual capacity on

September 6, 2022.

       This motion should be granted for the following reasons:

1.     Counsel for the Plaintiff conferred with all counsel for the Defendants about

       this motion. Defendants do not oppose this motion, but Defendant Hyundai

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     Motor Manufacturing Alabama, LLC (“HMMA”) conditions its position on

     being able to have an additional week for dispositive motions. Plaintiff does

     not oppose any request HMMA (or any other Defendant) may make for a

     reasonable extension of the dispositive motion deadline.

2.   The current discovery deadline is September 2, 2022, and the current

     dispositive motion deadline is October 5, 2022. (Doc. 57).

3.   Counsel for the Plaintiff began seeking a date to take schedule the

     depositions of the Defendants’ 30(b)(6) deponents on September 1, 2020,

     when the Plaintiff proposed discussing scheduling those deposition as a

     topic for the parties’ Rule 26 conference. Plaintiff has continued to try to

     schedule this deposition throughout discovery, but due to the constraints of

     COVID-19, Defendants’ understandable position that they would need to

     depose the Plaintiff before producing their witnesses for deposition, the

     challenge of working with the schedules for four sets of parties’ lawyers, and

     the availability of witnesses, it has not been possible to schedule the

     deposition of fact witness Cassandra Williams who will also serve as HEA’s

     30(b)(6) deponent prior to the close of discovery.

4.   Efforts were made to schedule Ms. Williams/the 30(b)(6) deposition prior to

     the close of discovery, but she is not available until September 6, 2022. The

     parties have agreed to take her deposition on September 6, 2022, if this


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      motion is granted.

5.    Plaintiff will be prejudiced if she is not permitted to depose Ms.

      Williams/HEA’s 30(b)(6) deponent

6.    The Plaintiff deposing Ms. Williams/HEA’s 30(b)(6) deponent four (4) days

      after the close of discovery should not disrupt or affect this Court’s trial

      date.

      WHEREFORE, PREMISES CONSIDERED, the Plaintiff requests this

Court to enter an Order giving her leave to take the deposition of Gloria

Williams/HEA’s 30(b)(6) deponent outside of the discovery deadline on

September 6, 2022.

                                    RESPECTFULLY SUBMITTED BY
                                    THE ATTORNEY FOR PLAINTIFF:

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                         CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing was served on all counsel of record via
the Court’s electronic filing system on __________:

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